     Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 1 of 31 PageID #: 2




                         THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS

GEORGE WILSON,                                      Case No.: 5:21-cv-05194-TLB

on behalf of himself and all others
similarly situated,                                 CLASS ACTION COMPLAINT

        Plaintiff,                                  DEMAND FOR JURY TRIAL

v.

J.B. HUNT TRANSPORT, INC.,

        Defendant.



         Plaintiff George Wilson (“Plaintiff”) brings this Class Action Complaint against J.B. Hunt

Transport, Inc. (“Defendant”), individually and on behalf of all others similarly situated (“Class

Members”), and alleges, upon personal knowledge as to their own actions and their counsels’

investigations, and upon information and belief as to all other matters, as follows:

                                       I. INTRODUCTION

         1.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personal identifiable information that Defendant required from job applicants as a

condition of potential employment, including names and Social Security numbers (collectively,

“personal identifiable information” or “PII”).

         2.      According to its website, “[w]ith nearly 60 years of industry experience,

[Defendant] has grown from five trucks and seven trailers to a Fortune 500 company providing a

variety of services for customers throughout the continental United States, Canada, and Mexico.” 1

Defendant has more than 30,000 employees and generates approximately $10 billion in revenue. 2


1
    See https://www.jbhunt.com/our-company (last visited Oct. 25, 2021).
2
    See https://www.jbhunt.com/blog/2021/08/60-our-people (last visited Oct. 25, 2021).

                                                   1
  Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 2 of 31 PageID #: 3




        3.     From August 17, 2020 to July 2, 2021, information about individuals who applied

to work for Defendant could have been accessed by an unknown, unauthorized actor due to a

configuration error in third-party software that Defendant used to store driver applications (the

“Data Breach”).

        4.     During the Data Breach, an unauthorized actor could have accessed the personal

information of more than 231,000 individual who applied to be drivers for Defendant.

        5.     On or around August 23, 2021, reports of the Data Breach began surfacing on the

Internet.

        6.     Defendant has not publicly reported when it first learned of the Data Breach, but it

presumably knew or should have known of the Data Breach prior to reports surfacing on the

Internet.

        7.     On or around October 18, 2021, Defendant began notifying Plaintiff and Class

Members of the Data Breach.

        8.     On or around October 18, 2021, Defendant began notifying various states Attorneys

General of the Data Breach.

        9.     By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendant assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion. Defendant admits that the

unencrypted PII exposed to “unauthorized activity” included names and Social Security numbers.

        10.    The exposed PII of Plaintiff and Class Members can be sold on the dark web.

Hackers can access and then offer for sale the unencrypted, unredacted PII to criminals. Plaintiff

and Class Members now face a lifetime risk of identity theft, which is heightened here by the loss

of Social Security numbers.


                                                 2
  Case 5:21-cv-05194-TLB Document 2                   Filed 11/01/21 Page 3 of 31 PageID #: 4




       11.     This PII was compromised due to Defendant’s negligent and/or careless acts and

omissions and the failure to protect the PII of Plaintiff and Class Members. In addition to

Defendant’s failure to prevent the Data Breach, after discovering the breach, Defendant waited

several months to report it to the states’ Attorneys General and affected individuals. Defendant

has also purposefully maintained secret the specific vulnerabilities and root causes of the breach

and has not informed Plaintiff and Class Members of that information.

       12.     As a result of this delayed response, Plaintiff and Class Members had no idea their

PII had been compromised, and that they were, and continue to be, at significant risk of identity

theft and various other forms of personal, social, and financial harm. The risk will remain for their

respective lifetimes.

       13.     Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendant’s failure to: (i) adequately protect the PII of Plaintiff and Class Members;

(ii) warn Plaintiff and Class Members of Defendant’s inadequate information security practices;

and (iii) effectively secure hardware containing protected PII using reasonable and effective

security procedures free of vulnerabilities and incidents. Defendant’s conduct amounts to

negligence and violates federal and state statutes.

       14.     Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) lost or diminished value of PII; (ii) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft, tax fraud, and/or

unauthorized use of their PII; (iii) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach, including but not limited to lost time, and (iv) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) may remain backed up in Defendant’s


                                                  3
  Case 5:21-cv-05194-TLB Document 2                  Filed 11/01/21 Page 4 of 31 PageID #: 5




possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

          15.   Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to take and implement adequate and reasonable

measures to ensure that the PII of Plaintiff and Class Members was safeguarded, failing to take

available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required and appropriate protocols, policies and procedures regarding the encryption of data, even

for internal use. As the result, the PII of Plaintiff and Class Members was compromised through

disclosure to an unknown and unauthorized third party. Plaintiff and Class Members have a

continuing interest in ensuring that their information is and remains safe, and they should be

entitled to injunctive and other equitable relief.

                                          II. PARTIES

          16.   Plaintiff George Wilson is a Citizen of New Jersey residing in Bergen County, New

Jersey.

          17.   Defendant J.B. Hunt Transport, Inc. is a corporation organized under the laws of

Georgia, headquartered in Lowell, Arkansas, with its principal place of business in Lowell,

Arkansas.

          18.   The true names and capacities of persons or entities, whether individual, corporate,

associate, or otherwise, who may be responsible for some of the claims alleged herein are currently

unknown to Plaintiff. Plaintiff will seek leave of court to amend this complaint to reflect the true

names and capacities of such other responsible parties when their identities become known.

          19.   All of Plaintiff’s claims stated herein are asserted against Defendant and any of its

owners, predecessors, successors, subsidiaries, agents and/or assigns.


                                                     4
  Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 5 of 31 PageID #: 6




                              III. JURISDICTION AND VENUE

        20.     This Court has subject matter and diversity jurisdiction over this action under 28

U.S.C. § 1332(d) because this is a class action wherein the amount of controversy exceeds the sum

or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

proposed class, and at least one Class Member is a citizen of a state different from Defendant to

establish minimal diversity.

        21.     The Western District of Arkansas has personal jurisdiction over Defendant named

in this action because Defendant and/or its parents or affiliates are headquartered in this District

and Defendant conduct substantial business in Arkansas and this District through its headquarters,

offices, parents, and affiliates.

        22.     Venue is proper in this District under 28 U.S.C. §1391(b) because Defendant and/or

its parents or affiliates are headquartered in this District and a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this District.

                               IV. FACTUAL ALLEGATIONS

        Background

        23.     In applying for jobs with Defendant, Plaintiff and Class Members were required to

provide Defendant with sensitive and confidential information, including their names and Social

Security numbers, which include information that is static, does not change, and can be used to

commit myriad financial crimes.

        24.     Plaintiff and Class Members relied on this sophisticated Defendant to keep their PII

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information. Plaintiff and Class Members demand

security to safeguard their PII.


                                                  5
    Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 6 of 31 PageID #: 7




          25.    Defendant had a duty to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties.

          26.    Defendant has posted a Privacy Policy, last updated December 30, 2019, on its

website (the “Privacy Policy”). 3

          27.    The Privacy Policy “applies to personal information that we collect about you on

this website, jbhunt.com (the ‘Website’) and to personal information that you submit to us or that

we collect via online fillable forms, email or SMS campaigns, our mobile applications, software,

or any other J.B. Hunt product or service that incorporates this Privacy Policy by reference.” 4

          28.    Under “How We Protect the Information We Collect”, the Privacy Policy states

                 We have implemented technical, administrative, and physical
                 security measures to protect your personal information from
                 unauthorized access or disclosure and improper use. For example,
                 we use 256-bit Secure Sockets Layer (SSL) encryption to protect the
                 data collection forms on the Site. In addition, access to your personal
                 information is restricted in our offices. Only employees who need
                 the personal information to perform a specific job (for example, a
                 customer service representative) are granted access to personal
                 information. All employees with access to personal information are
                 kept up-to-date on our security and privacy practices. After a new
                 policy is added, these employees are notified and/or reminded about
                 the importance we place on privacy, and what they can do to
                 enhance protection for our customers' personal information. In
                 addition, the servers that we use to store personal information are
                 kept in a secure, restricted access area. 5

          The Data Breach

          29.    On or about October 18, 2021, Defendant sent Plaintiff and Class Members “notice




3
    Exhibit 1, available at https://www.jbhunt.com/privacy-policy.html (last visited Oct. 20, 2021).
4
    Id.
5
    Id.

                                                   6
    Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 7 of 31 PageID #: 8




of an incident that involves some of your personal information” (the “Notice of Data Incident”). 6

Defendant informed Plaintiff and Class Members that:

                  J.B. Hunt Transport, Inc. (“J.B. Hunt”) understands the importance
                  of protecting the information we maintain. We are writing to inform
                  you of an incident that involves some of your personal information.
                  This notice explains the incident, measures we have taken, and some
                  steps you may consider taking in response.

                  J.B. Hunt has completed its investigation into a security incident
                  involving a configuration error in the Microsoft PowerApps portal
                  used by J.B. Hunt to create driver applications. Upon learning of the
                  incident, we immediately took steps to secure the portal. The
                  investigation determined that certain applicant information could
                  have been accessed by an unauthorized actor between August 17,
                  2020 through July 2, 2021. We completed a careful review of the
                  data and, on September 10, 2021, determined that the files contained
                  your name and Social Security number.

                  We take this incident very seriously. J.B. Hunt is offering you a
                  complimentary      one-year     membership      to    Experian’s®
                  IdentityWorksSM. This product helps detect possible misuse of
                  your personal information and provides you with identity protection
                  services focused on identification and resolution of identity theft.
                  IdentityWorks is completely free to you and enrolling in this
                  program will not hurt your credit score….

                  We regret any inconvenience or concern this incident may cause
                  you. To help prevent something like this from happening in the
                  future, we have reviewed permissions to access data in the cloud,
                  made modifications for all cloud services, and implemented other
                  measures to help prevent unauthorized access to our data. 7

           30.    On or about October 18, 2021, Defendant notified various state Attorneys General

of the Data Breach. Defendant also provided the Attorneys General with “sample” notices of the

Data Breach. 8



6
    Exhibit 2 (Notice of Data Incident sent to Plaintiff).
7
    Id. at 1.
8
    Exhibit 3 (sample letter and notice filed with Maine Attorney General).

                                                    7
    Case 5:21-cv-05194-TLB Document 2             Filed 11/01/21 Page 8 of 31 PageID #: 9




          31.    Defendant admitted in the Notice of Data Incident, the reports to the Attorneys

General, and the “sample” notices of the Data Breach that unauthorized third persons could have

accessed files that contained sensitive information about applicants for jobs with Defendant,

including names and Social Security numbers.

          32.    Defendant claims that “[u]pon learning of the incident, we immediately took steps

to secure the portal” and that “[t]o help prevent something like this from happening in the future,

we have reviewed permissions to access data in the cloud, made modifications for all cloud

services, and implemented other measures to help prevent unauthorized access to our data.” 9

However, the details of the root cause of the Data Breach, the vulnerabilities exploited, and the

remedial measures undertaken to ensure a breach does not occur again have not been shared with

regulators or Plaintiff and Class Members, who retain a vested interest in ensuring that their

information remains protected.

          33.    The unencrypted PII of Plaintiff and Class Members may end up for sale on the

dark web, or simply fall into the hands of companies that will use the detailed PII for targeted

marketing without the approval of Plaintiff and Class Members. Unauthorized individuals can

easily access the PII of Plaintiff and Class Members.

          34.    Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive, unencrypted information it was maintaining for Plaintiff and Class

Members, causing the exposure of PII for more than 231,000 individuals.

          Defendant Acquires, Collects, and Stores the PII of Plaintiff and Class Members.

          35.    Prior to the Data Breach, Defendant acquired, collected, and stored the PII of

Plaintiff and Class Members.


9
    Exhibits 2 and 3.

                                                 8
 Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 9 of 31 PageID #: 10




         36.     As a condition of applying for employment with Defendant, Plaintiff and Class

Members entrusted Defendant with highly confidential PII.

         37.     By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendant assumed legal and equitable duties and knew or should have known that it was

responsible for protecting the PII from disclosure.

         38.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendant to keep their PII confidential and securely

maintained, to use this information for business purposes only, and to make only authorized

disclosures of this information.

         Securing PII and Preventing Breaches

         39.     Defendant could have prevented this Data Breach by properly securing and

encrypting the PII of Plaintiff and Class Members. Alternatively, Defendant could have destroyed

the data, especially the PII of those who applied for jobs years before the Data Breach.

         40.     Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.

         41.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

         42.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.” 10

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other


10
     17 C.F.R. § 248.201 (2013).

                                                 9
 Case 5:21-cv-05194-TLB Document 2                  Filed 11/01/21 Page 10 of 31 PageID #: 11




things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 11

           43.    The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen, particularly Social Security numbers,

fraudulent use of that information and damage to victims may continue for years.

           Value of Personal Identifiable Information

           44.    The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200. 12 Experian reports that a stolen credit or debit

card number can sell for $5 to $110 on the dark web. 13 Criminals can also purchase access to entire

company data breaches from $900 to $4,500. 14

           45.    Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration stresses that the loss of an

individual’s Social Security number, as is the case here, can lead to identity theft and extensive


11
     Id.
12
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last accessed Oct. 29, 2021).
13
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed Oct. 29, 2021).
14
  In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last accessed Oct. 29, 2021).

                                                   10
 Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 11 of 31 PageID #: 12




financial fraud:

               A dishonest person who has your Social Security number can use it
               to get other personal information about you. Identity thieves can use
               your number and your good credit to apply for more credit in your
               name. Then, they use the credit cards and don’t pay the bills, it
               damages your credit. You may not find out that someone is using
               your number until you’re turned down for credit, or you begin to get
               calls from unknown creditors demanding payment for items you
               never bought. Someone illegally using your Social Security number
               and assuming your identity can cause a lot of problems. 15

       46.     What is more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       47.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link the

new number very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.” 16

       48.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to




15
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed Oct. 29, 2021).
16
  Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-
hackers-has-millionsworrying-about-identity-theft (last accessed Oct. 29, 2021).

                                                 11
 Case 5:21-cv-05194-TLB Document 2              Filed 11/01/21 Page 12 of 31 PageID #: 13




change—Social Security number and name.

         49.   This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.” 17

         50.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         51.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         52.   There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

               [L]aw enforcement officials told us that in some cases, stolen data
               may be held for up to a year or more before being used to commit
               identity theft. Further, once stolen data have been sold or posted on
               the Web, fraudulent use of that information may continue for years.
               As a result, studies that attempt to measure the harm resulting from
               data breaches cannot necessarily rule out all future harm. 18

         53.   At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, including Social Security

numbers, and of the foreseeable consequences that would occur if Defendant’s data security




17
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers,          IT        World,       (Feb.        6,        2015),   available        at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed Oct. 29, 2021).
18
    Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Oct. 29, 2021).

                                                12
 Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 13 of 31 PageID #: 14




system was breached, including, specifically, the significant costs that would be imposed on

Plaintiff and Class Members as a result of a breach.

        54.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

        55.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s storage platform, amounting to potentially tens or

hundreds of thousands of individuals’ detailed, personal information and, thus, the significant

number of individuals who would be harmed by the exposure of the unencrypted data.

        56.     To date, Defendant has offered Plaintiff and Class Members only one year of

identity theft detection through a single credit bureau, Experian. The offered service is inadequate

to protect Plaintiff and Class Members from the threats they face for years to come, particularly in

light of the PII at issue here.

        57.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

        Plaintiff’s Experience

        58.     Prior to the Data Breach, Plaintiff submitted a job application to Defendant. As a

condition of submitting such application, Defendant required that Plaintiff provide and/or entrust

his PII, including his name and Social Security number.

        59.     At the time of the Data Breach (August 17, 2020 to July 2, 2021), Defendant

retained the names and Social Security numbers of Plaintiff and other applicants for jobs with

Defendant.


                                                13
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 14 of 31 PageID #: 15




       60.     Plaintiff received Defendant’s Notice of Data Incident, dated October 18, 2021, on

or about that date. The notice stated that Plaintiff’s name and Social Security number were

contained in files that could have been accessed during the Data Breach.

       61.     As a result of the Notice of Data Incident, Plaintiff spent time dealing with the

consequences of the Data Breach, which includes time spent verifying the legitimacy of the Notice

of Data Incident and self-monitoring his accounts. This time has been lost forever and cannot be

recaptured.

       62.     Additionally, Plaintiff is very careful about sharing his sensitive PII. He has never

knowingly transmitted unencrypted sensitive PII over the internet or any other unsecured source.

       63.     Plaintiff stores any documents containing his sensitive PII in a safe and secure

location or destroys the documents. Moreover, he diligently chooses unique usernames and

passwords for his various online accounts.

       64.     Plaintiff suffered actual injury in the form of damages to and diminution in the

value of his PII—a form of intangible property that Plaintiff entrusted to Defendant for the purpose

of applying for employment, which was compromised in and as a result of the Data Breach.

       65.     Plaintiff suffered lost time, annoyance, interference, and inconvenience as a result

of the Data Breach and has anxiety and increased concerns for the loss of his privacy.

       66.     Plaintiff has suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse resulting from his PII, especially his Social

Security number, in combination with his name, being placed in the hands of unauthorized third

parties and possibly criminals.

       67.     Plaintiff has a continuing interest in ensuring that his PII, which, upon information

and belief, remains backed up in Defendant’s possession, is protected and safeguarded from future


                                                14
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 15 of 31 PageID #: 16




breaches.

                                V. CLASS ALLEGATIONS

       68.     Plaintiff brings this nationwide class action on behalf of himself and on behalf of

all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules

of Civil Procedure.

       69.     The Nationwide Class that Plaintiff seek to represent is defined as follows:

               All United States residents whose PII was or could have been
               accessed during the security incident that is the subject of the Notice
               of Data Incident that Defendant sent to Plaintiff and other Class
               Members on or around October 18, 2021 (the “Nationwide Class”).

       70.     Excluded from the Classes are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       71.     Plaintiff reserves the right to modify or amend the definition of the proposed classes

before the Court determines whether certification is appropriate.

       72.     Numerosity, Fed R. Civ. P. 23(a)(1): The Nationwide Class (the “Class”) are so

numerous that joinder of all members is impracticable. Defendant has identified hundreds of

thousands of job applicants whose PII may have been improperly accessed in the Data Breach, and

the Class is apparently identifiable within Defendant’s records.         Defendant advised Maine

Attorney General Frey that the Data Breach affected 231,687 individuals.

       73.     Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

                                                 15
Case 5:21-cv-05194-TLB Document 2             Filed 11/01/21 Page 16 of 31 PageID #: 17




common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendant had a duty to protect the PII of Plaintiff and

            Class Members;

         b. Whether Defendant had duties not to disclose the PII of Plaintiff and Class Members

            to unauthorized third parties;

         c. Whether Defendant had duties not to use the PII of Plaintiff and Class Members for

            non-business purposes;

         d. Whether Defendant failed to adequately safeguard the PII of Plaintiff and Class

            Members;

         e. Whether and when Defendant actually learned of the Data Breach;

         f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and

            Class Members that their PII had been compromised;

         g. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class

            Members that their PII had been compromised;

         h. Whether Defendant failed to implement and maintain reasonable security procedures

            and practices appropriate to the nature and scope of the information compromised in

            the Data Breach;

         i. Whether Defendant adequately addressed and fixed the vulnerabilities which

            permitted the Data Breach to occur;

         j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to

            safeguard the PII of Plaintiff and Class Members;

         k. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or


                                              16
Case 5:21-cv-05194-TLB Document 2                 Filed 11/01/21 Page 17 of 31 PageID #: 18




              nominal damages as a result of Defendant’s wrongful conduct;

         l. Whether Plaintiff and Class Members are entitled to restitution as a result of

              Defendant’s wrongful conduct; and

         m. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the

              imminent and currently ongoing harm faced as a result of the Data Breach.

       74.     Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their PII compromised as a result of the Data Breach, due to

Defendant’s misfeasance.

       75.     Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

       76.     Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately represent

and protect the interests of the Class Members in that he has no disabling conflicts of interest that

would be antagonistic to those of the other Members of the Class. Plaintiff seeks no relief that is

antagonistic or adverse to the Members of the Class and the infringement of the rights and the

damages he has suffered are typical of other Class Members. Plaintiff has retained counsel

experienced in complex class action litigation, and Plaintiff intends to prosecute this action

vigorously.

       77.     Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): The class litigation is an


                                                 17
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 18 of 31 PageID #: 19




appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged herein; it will permit a large number of Class Members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by certain Class

Members, who could not individually afford to litigate a complex claim against large corporations,

like Defendant. Further, even for those Class Members who could afford to litigate such a claim,

it would still be economically impractical and impose a burden on the courts.

        78.     The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

limited resources of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be recovered; proof

of a common course of conduct to which Plaintiff was exposed is representative of that experienced

by the Class and will establish the right of each Class Member to recover on the cause of action

alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

and duplicative of this litigation.

        79.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.


                                                18
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 19 of 31 PageID #: 20




       80.     Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

       81.     Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII of Class Members, Defendant may continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and Defendant may continue to act

unlawfully as set forth in this Complaint.

       82.     Further, Defendant has acted or refused to act on grounds generally applicable to

the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

       83.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

              a. Whether Defendant owed a legal duty to Plaintiff and Class Members to exercise

                  due care in collecting, storing, using, and safeguarding their PII;

              b. Whether Defendant breached a legal duty to Plaintiff and Class Members to

                  exercise due care in collecting, storing, using, and safeguarding their PII;

              c. Whether Defendant failed to comply with its own policies and applicable laws,

                  regulations, and industry standards relating to data security;

              d. Whether an implied contract existed between Defendant on the one hand, and

                  Plaintiff and Class Members on the other, and the terms of that implied contract;

              e. Whether Defendant breached the implied contract;


                                                 19
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 20 of 31 PageID #: 21




              f. Whether Defendant adequately and accurately informed Plaintiff and Class

                  Members that their PII had been compromised;

              g. Whether Defendant failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the information

                  compromised in the Data Breach;

              h. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing

                  to safeguard the PII of Plaintiff and Class Members; and,

              i. Whether Class Members are entitled to actual, consequential, and/or nominal

                  damages, and/or injunctive relief as a result of Defendant’s wrongful conduct.

                                          COUNT I
                                       NEGLIGENCE
                       (On Behalf of Plaintiff and the Nationwide Class)

       84.     Plaintiff and the Nationwide Class re-allege and incorporate by reference herein all

of the allegations contained in paragraphs 1 through 83.

       85.     As a condition of applying for jobs with Defendant, Plaintiff and the Nationwide

Class were obligated to provide Defendant with certain PII, including their names and Social

Security numbers.

       86.     Plaintiff and the Nationwide Class entrusted their PII to Defendant on the premise

and with the understanding that Defendant would safeguard their information, use their PII for

business purposes only, and/or not disclose their PII to unauthorized third parties.

       87.     Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Nationwide Class could and would suffer if the PII were wrongfully disclosed.

       88.     Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the PII of Plaintiff and the Nationwide Class involved


                                                20
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 21 of 31 PageID #: 22




an unreasonable risk of harm to Plaintiff and the Nationwide Class, even if the harm occurred

through the criminal acts of a third party.

       89.     Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendant’s security protocols to ensure that the PII of Plaintiff and the Nationwide Class in

Defendant’s possession was adequately secured and protected.

       90.     Defendant also had a duty to exercise appropriate clearinghouse practices to remove

job applicants’ PII it was no longer required to retain pursuant to regulations.

       91.     Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the PII of Plaintiff and the Nationwide Class.

       92.     Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and Plaintiff and the Nationwide Class. That special

relationship arose because Plaintiff and the Nationwide Class entrusted Defendant with their

confidential PII, a necessary part of applying for jobs with Defendant.

       93.     Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Nationwide Class.

       94.     A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Nationwide Class was reasonably foreseeable, particularly in light of Defendant’s inadequate

security practices.

       95.     Plaintiff and the Nationwide Class were the foreseeable and probable victims of

any inadequate security practices and procedures. Defendant knew or should have known of the

inherent risks in collecting and storing the PII of Plaintiff and the Nationwide Class, the critical


                                                 21
Case 5:21-cv-05194-TLB Document 2                 Filed 11/01/21 Page 22 of 31 PageID #: 23




importance of providing adequate security of that PII, and the necessity for encrypting PII stored

on Defendant’s systems.

       96.     Defendant’s own conduct created a foreseeable risk of harm to Plaintiff and the

Nationwide Class. Defendant’s misconduct included, but was not limited to, its failure to take the

steps and opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct

also included its decisions not to comply with industry standards for the safekeeping of the PII of

Plaintiff and the Nationwide Class, including basic encryption techniques freely available to

Defendant.

       97.     Plaintiff and the Nationwide Class had no ability to protect their PII that was in,

and possibly remains in, Defendant’s possession.

       98.     Defendant was in a position to protect against the harm suffered by Plaintiff and

the Nationwide Class as a result of the Data Breach.

       99.     Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Nationwide Class within Defendant’s possession might have been compromised,

how it was compromised, and precisely the types of data that were compromised and when. Such

notice was necessary to allow Plaintiff and the Nationwide Class to take steps to prevent, mitigate,

and repair any identity theft and the fraudulent use of their PII by third parties.

       100.    Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the PII of Plaintiff and the Nationwide Class.

       101.    Defendant has admitted that the PII of Plaintiff and the Nationwide Class could

have been accessed by unauthorized third persons as a result of the Data Breach.

       102.    Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and the Nationwide Class by failing to implement industry protocols and exercise


                                                  22
 Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 23 of 31 PageID #: 24




reasonable care in protecting and safeguarding the PII of Plaintiff and the Nationwide Class during

the time the PII was within Defendant’s possession or control.

         103.   Defendant improperly and inadequately safeguarded the PII of Plaintiff and the

Nationwide Class in deviation of standard industry rules, regulations, and practices at the time of

the Data Breach.

         104.   Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the PII of Plaintiff and the Nationwide Class in the face of increased risk of

theft.

         105.   Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and the Nationwide Class by failing to have appropriate procedures in place to detect and

prevent dissemination of job applicants’ PII.

         106.   Defendant breached its duty to exercise appropriate clearinghouse practices by

failing to remove job applicants’ PII it was no longer required to retain pursuant to regulations.

         107.   Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiff and the Nationwide Class the existence and scope of

the Data Breach.

         108.   But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Nationwide Class, the PII of Plaintiff and the Nationwide Class would not have been

compromised.

         109.   There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Nationwide Class and the harm, or risk of

imminent harm, suffered by Plaintiff and the Nationwide Class. The PII of Plaintiff and the

Nationwide Class could have been accessed as the proximate result of Defendant’s failure to


                                                 23
Case 5:21-cv-05194-TLB Document 2                   Filed 11/01/21 Page 24 of 31 PageID #: 25




exercise reasonable care in safeguarding such PII by adopting, implementing, and maintaining

appropriate security measures.

          110.   Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant, of failing to use reasonable measures to protect PII. The FTC

publications and orders described above also form part of the basis of Defendant’s duty in this

regard.

          111.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of the immense damages that would result to Plaintiff

and the Nationwide Class.

          112.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

          113.   Plaintiff and the Nationwide Class are within the class of persons that the FTC Act

was intended to protect.

          114.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Nationwide Class.

          115.   As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Nationwide Class have suffered and will suffer injury, including but not limited

to: (i) actual identity theft; (ii) the loss of the opportunity of how their PII is used; (iii) the

compromise, publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the


                                                   24
Case 5:21-cv-05194-TLB Document 2                 Filed 11/01/21 Page 25 of 31 PageID #: 26




prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their

PII; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the present and continuing consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from tax fraud and identity theft; (vi) costs associated with placing freezes on credit reports; (vii)

the continued risk to their PII, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII of Plaintiff and the Nationwide Class; and (viii) present and continuing

costs in terms of time, effort, and money that has been and will be expended to prevent, detect,

contest, and repair the impact of the PII compromised as a result of the Data Breach for the

remainder of the lives of Plaintiff and the Nationwide Class.

       116.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Nationwide Class have suffered and will continue to suffer other forms of injury

and/or harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.

       117.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Nationwide Class have suffered and will suffer the continued

risks of exposure of their PII, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII in its continued possession.

       118.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Nationwide Class are entitled to recover actual, consequential, and nominal

damages.


                                                 25
Case 5:21-cv-05194-TLB Document 2                Filed 11/01/21 Page 26 of 31 PageID #: 27




                                             COUNT II
                              BREACH OF IMPLIED CONTRACT
                          (On Behalf of Plaintiff and the Nationwide Class)

       119.    Plaintiff and the Nationwide Class re-allege and incorporate by reference herein all

of the allegations contained in paragraphs 1 through 83.

       120.    Defendant required Plaintiff and the Nationwide Class to provide their personal

information, including names and Social Security numbers, as a condition of applying for

employment.

       121.    As a condition of applying for employment with Defendant, Plaintiff and the

Nationwide Class provided their personal information. In so doing, Plaintiff and the Nationwide

Class entered into implied contracts with Defendant by which Defendant agreed to safeguard and

protect such information, to keep such information secure and confidential, and to timely and

accurately notify Plaintiff and the Nationwide Class if their data had been breached and

compromised or stolen.

       122.    Prior to the Data Breach, Defendant published the Privacy Policy, agreeing to (i)

implement technical, administrative, and physical security measures to protect the PII from

unauthorized access or disclosure and improper use, (ii) limit access to the PII to employees who

need such access to perform a specific job, and (iii) store the PII only on servers kept in a secure,

restricted access area.

       123.    Plaintiff and the Nationwide Class fully performed their obligations under the

implied contracts with Defendant.

       124.    Defendant breached the implied contracts it made with Plaintiff and the Nationwide

Class by (i) failing to implement technical, administrative, and physical security measures to

protect the PII from unauthorized access or disclosure and improper (such as encryption of Social


                                                 26
Case 5:21-cv-05194-TLB Document 2                 Filed 11/01/21 Page 27 of 31 PageID #: 28




Security numbers), (ii) failing to limit access to the PII to Defendant’s employees who needed such

access to perform a specific job, (iii) failing to store the PII only on servers kept in a secure,

restricted access area, and (iv) otherwise failing to safeguard the PII.

       125.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Nationwide Class have suffered (and will continue to suffer) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss

and economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of

the compromised data on the dark web; expenses and/or time spent on credit monitoring and

identity theft insurance; time spent scrutinizing bank statements, credit card statements, and credit

reports; expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost

work time; and other economic and non-economic harm.

       126.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Nationwide Class are entitled to recover actual, consequential, and

nominal damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and Class Members, requests judgment

against Defendant and that the Court grant the following:

       A.      For an Order certifying the Nationwide Class and appointing Plaintiff and his

               Counsel to represent such Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of the PII of

               Plaintiff and Class Members, and from refusing to issue prompt, complete, any


                                                  27
Case 5:21-cv-05194-TLB Document 2               Filed 11/01/21 Page 28 of 31 PageID #: 29




           accurate disclosures to Plaintiff and Class Members;

    C.     For injunctive relief requested by Plaintiff, including but not limited to, injunctive

           and other equitable relief as is necessary to protect the interests of Plaintiff and

           Class Members, including but not limited to an order:

           i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

                described herein;

          ii.   requiring Defendant to protect, including through encryption, all data collected

                through the course of its business in accordance with all applicable regulations,

                industry standards, and federal, state or local laws;

         iii.   requiring Defendant to delete, destroy, and purge the personal identifying

                information of Plaintiff and Class Members unless Defendant can provide to

                the Court reasonable justification for the retention and use of such information

                when weighed against the privacy interests of Plaintiff and Class Members;

         iv.    requiring Defendant to implement and maintain a comprehensive Information

                Security Program designed to protect the confidentiality and integrity of the PII

                of Plaintiff and Class Members;

          v.    prohibiting Defendant from maintaining the PII of Plaintiff and Class Members

                on a cloud-based database;

         vi.    requiring   Defendant      to    engage    independent    third-party   security

                auditors/penetration testers as well as internal security personnel to conduct

                testing, including simulated attacks, penetration tests, and audits on

                Defendant’s systems on a periodic basis, and ordering Defendant to promptly

                correct any problems or issues detected by such third-party security auditors;


                                                28
Case 5:21-cv-05194-TLB Document 2             Filed 11/01/21 Page 29 of 31 PageID #: 30




        vii.    requiring Defendant to engage independent third-party security auditors and

                internal personnel to run automated security monitoring;

        viii.   requiring Defendant to audit, test, and train its security personnel regarding any

                new or modified procedures;

         ix.    requiring Defendant to segment data by, among other things, creating firewalls

                and access controls so that if one area of Defendant’s network is compromised,

                hackers cannot gain access to other portions of Defendant’s systems;

          x.    requiring Defendant to conduct regular database scanning and securing checks;

         xi.    requiring Defendant to establish an information security training program that

                includes at least annual information security training for all employees, with

                additional training to be provided as appropriate based upon the employees’

                respective responsibilities with handling personal identifying information, as

                well as protecting the personal identifying information of Plaintiff and Class

                Members;

        xii.    requiring Defendant to routinely and continually conduct internal training and

                education, and on an annual basis to inform internal security personnel how to

                identify and contain a breach when it occurs and what to do in response to a

                breach;

        xiii.   requiring Defendant to implement a system of tests to assess its respective

                employees’ knowledge of the education programs discussed in the preceding

                subparagraphs, as well as randomly and periodically testing employees

                compliance with Defendant’s policies, programs, and systems for protecting

                personal identifying information;


                                             29
Case 5:21-cv-05194-TLB Document 2             Filed 11/01/21 Page 30 of 31 PageID #: 31




         xiv.   requiring Defendant to implement, maintain, regularly review, and revise as

                necessary a threat management program designed to appropriately monitor

                Defendant’s information networks for threats, both internal and external, and

                assess whether monitoring tools are appropriately configured, tested, and

                updated;

         xv.    requiring Defendant to meaningfully educate all Class Members about the

                threats that they face as a result of the loss of their confidential personal

                identifying information to third parties, as well as the steps affected individuals

                must take to protect themselves;

         xvi.   requiring Defendant to implement logging and monitoring programs sufficient

                to track traffic to and from Defendant’s servers; and for a period of 10 years,

                appointing a qualified and independent third party assessor to conduct a SOC 2

                Type 2 attestation on an annual basis to evaluate Defendant’s compliance with

                the terms of the Court’s final judgment, to provide such report to the Court and

                to counsel for the class, and to report any deficiencies with compliance of the

                Court’s final judgment;

    D.      For an award of damages, including actual, consequential, and nominal damages,

            as allowed by law in an amount to be determined;

    E.      For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

    F.      For prejudgment interest on all amounts awarded; and

    G.      Such other and further relief as this Court may deem just and proper.

                              DEMAND FOR JURY TRIAL

    Plaintiff hereby demand that this matter be tried before a jury.


                                              30
Case 5:21-cv-05194-TLB Document 2     Filed 11/01/21 Page 31 of 31 PageID #: 32




Date: November 1, 2021              Respectfully Submitted,

                                    /s/ Joseph Henry (Hank) Bates, III
                                    Joseph Henry (Hank) Bates, III
                                    David F. Slade
                                    CARNEY BATES & PULLIAM, PLLC
                                    519 W. 7th St.
                                    Little Rock, AR 72201
                                    Phone: 501-312-8500
                                    Fax: 501-312-8505
                                    hbates@cbplaw.com
                                    dslade@cbplaw.com

                                    Jean Martin*
                                    Ryan D. Maxey*
                                    MORGAN & MORGAN COMPLEX
                                    BUSINESS DIVISION
                                    201 N. Franklin Street, 7th Floor
                                    Tampa, Florida 33602
                                    Phone: 813-223-5505
                                    jeanmartin@ForThePeople.com
                                    rmaxey@ForThePeople.com

                                    Attorneys for Plaintiff and the Proposed Class

                                    *pro hac vice applications forthcoming




                                      31
